




02-11-491-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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&nbsp;

NO. 02-11-00491-CV

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  Nancy Simenstad
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  R. Keith Spencer and Bailey &amp; Galyen
  
  
  &nbsp;
  
  
  APPELLEES 
  
 


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FROM THE 352nd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

We
have considered appellant’s “Motion To Dismiss.”&nbsp; It is
the court=s opinion that the motion should be
granted; therefore, we dismiss the appeal.&nbsp; See Tex. R. App. P.
42.1(a)(1), 43.2(f).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Costs
of the appeal shall be paid by appellant, for which let execution
issue.&nbsp; See Tex. R. App. P. 42.1(d).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

PANEL:&nbsp;
DAUPHINOT,
GARDNER, and WALKER, JJ.&nbsp;


&nbsp;

DELIVERED:
&nbsp;January 19, 2012









[1]See Tex. R. App. P. 47.4.







